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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS


                                         x
LAURA DEVLIN, Individually and on Behalf :   Civil Action No. __
of All Others Similarly Situated,        :
                                         :   CLASS ACTION COMPLAINT FOR
                              Plaintiff, :   VIOLATIONS OF THE FEDERAL
                                         :   SECURITIES LAWS
        vs.                              :
                                         :
EQUITABLE FINANCIAL LIFE                 :
INSURANCE COMPANY,                       :
                                         :
                              Defendant.
                                         :
                                         x   DEMAND FOR JURY TRIAL
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                               I.      INTRODUCTION

       1.      This is a class action brought on behalf of investors in EQUI-VEST variable

annuities against Equitable Financial Life Insurance Company (“Defendant” or “Equitable”) for

violations of the federal securities laws. For years, Equitable charged investors—most of whom

are teachers or other employees of kindergarten through twelfth-grade (“K-12”) public school

districts—significant undisclosed fees on their EQUI-VEST variable annuities, held within 403(b)

or 457(b) supplemental retirement savings plans, in violation of §10(b) of the Securities Exchange

Act of 1934 (“Exchange Act”), 15 U.S.C. §78j(b), and Rule 10b-5, promulgated thereunder, 17

C.F.R. §240.10b-5.

       2.      As more fully explained below, Defendant has consented to the entry of a U.S.

Securities and Exchange Commission (“SEC”) order in which the SEC found that Defendant

issued misleading account statements to more than 1,000,000 variable annuity investors. This

conduct led investors to increase their contributions to the EQUI-VEST variable annuities or

caused them to move additional dollars from existing 403(b) plans and individual retirement

accounts (“IRA”) products as an exchange, plan transfer, or rollover-in.

       3.      The United States is home to 3.8 million full- and part-time public-school teachers,

including 1.9 million elementary school teachers and 1.9 million secondary school teachers. For

most of them, the funds provided by retirement programs for a lifetime of academic service,

whether by pension or otherwise, will be insufficient to fund their retirement.

       4.      As a result, for many years, teachers have turned to supplementing their retirement

saving with personal retirement savings plans. Often, these educators invest in plans offered under

26 U.S.C. §403(b), which allows public schools and 501(c)(3) non-profits to offer employees tax-

advantaged employer-sponsored retirement plans.


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        5.      Millions of teachers across the United States participate in defined contribution

plans, such as 403(b) and 457(b) plans, and over $1 trillion is currently invested in securities

offered within these 403(b) and 457(b) plans. Public school teachers also have substantial assets

in defined benefit plans. By some estimates, teacher retirement assets (in both defined benefit and

defined contribution plans) aggregate to over $2 trillion.

        6.      Over the course of several years, Defendant—a nationwide insurance and annuity

company and one of the largest 403(b) vendors—misled investors in its EQUI-VEST variable

annuities about the fees and costs associated with that product.

        7.      Since at least 2016, through at least the first half of 2022, Defendant’s account

statements excluded the most significant fees that investors paid on their accounts. Instead, the

account statements listed as fees only certain types of administrative, transaction, and plan

operating fees—most often amounting to zero or a very small number—which were, in fact, only

a slight fraction of the overall fees paid by the investor.

        8.      Defendant’s conduct has enabled it to thrive in the 403(b) market for public school

teachers. By hiding its fees, Defendant has lured unsuspecting teachers into its poorly performing

products and away from better products sold by competing vendors.

        9.      Plaintiff Laura Devlin (“Plaintiff”) is such a teacher. Plaintiff incurred thousands

of dollars in fees within Defendant’s poorly performing variable annuities.

                                      II.     PARTIES

        A.      Plaintiff

        10.     Plaintiff Laura Devlin is a resident of Elgin, Illinois. She has served as an English

teacher at Huntley High School for the past 21 years, in Consolidated School District 158. As set

forth in the attached certification, Plaintiff opened an EQUI-VEST variable annuity contract in


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2003 through her school district’s 403(b) plan and made contributions to that annuity through

October 2021. While holding that annuity, she incurred fees and charges within this product that

Defendant failed to disclose in its quarterly statements.

       B.      Defendant

       11.     Defendant Equitable Financial Life Insurance Company is a New York company,

incorporated in New York and with its principal place of business in New York, New York.

Equitable’s primary business is providing variable annuity, life insurance, and employee benefit

products to both individuals and businesses. It is an insurance company that enters into variable

annuity contracts with investors, issuing quarterly account statements to them. Prior to June 2020,

Equitable was known as AXA Equitable Life Insurance Company.

       12.     Equitable describes itself as the “#1 provider of 403(b) plans for K-12 schools,”

with “products and services . . . designed to meet the unique needs of educators.” It markets itself

as a company that “understand[s] teachers,” helping them “invest wisely.”

       13.     Equitable operates across the United States. Since at least 2016, more than

1,000,000 investors have purchased or added to its EQUI-VEST variable annuities within a 403(b)

or 457(b) defined contribution retirement plan. Most of these investors are teachers or other

employees of K-12 public school districts.

                         III.    JURISDICTION AND VENUE

       14.     The claims asserted herein arise under §10(b) of the Exchange Act, 15 U.S.C.

§78j(b), and Rule 10b-5, promulgated thereunder, 17 C.F.R. §240.10b-5.             This Court has

jurisdiction over the subject matter of this action under 28 U.S.C. §1331 and §27 of the Exchange

Act, 15 U.S.C. §78aa.




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        15.     This Court also has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332(d)(2), as amended by the Class Action Fairness Act of 2005, because: (a) there are at least

100 class members; (b) the matter in controversy exceeds $5 million, exclusive of interest and

costs; and (c) at least one plaintiff is a citizen of a different state than at least one defendant.

        16.     This Court has personal jurisdiction and venue over Defendant under §27 of the

Exchange Act, 28 U.S.C. §1391(b) and 18 U.S.C. §1965(a) because Defendant conducts business,

including advertising and selling variable annuity products, in this District. Venue is also proper

in this District under 28 U.S.C. §1391(b) because a substantial part of the events or omissions

giving rise to the claims at issue occurred in this District and because Defendant is subject to the

personal jurisdiction of this Court. Moreover, Plaintiff and the broker who sold Plaintiff her EQUI-

VEST variable annuity reside in this District.

                                  IV.      BACKGROUND

        A.      Overview of Retirement Plans for Public School Teachers and
                Employees of Non-Profit Organizations

        17.     Most Americans who save for retirement at work have 401(k) plans, which are

generally offered by companies and, by law, must provide a mix of prudent investment options.

But millions of Americans—including public school teachers, clergy members, employees of

religious institutions or non-profits, and some charities—are not offered 401(k)s. Instead, they

typically rely on what are known as 403(b) or 457(b) plans.

        18.     Public-sector and non-profit organizations offer two types of employer-sponsored

plans, the 403(b) and the 457(b), to help fund an employee’s retirement. These plans function

similarly to a private employer’s 401(k) plan and serve as a supplement to a traditional pension

plan or other retirement plan(s), or as a stand-alone plan.            403(b) and 457(b) plans have

increasingly played a more important role in paying for workers’ retirement for several reasons.
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First, teachers in about a dozen states may not qualify for Social Security. Second, while public

teachers are often offered pensions, many of them do not work for the decades of service it requires

to qualify for a full payout. And pension formulas have become less generous for newer teachers.

       19.     The 403(b) plan is a retirement tool available to employees of educational

institutions and certain non-profit organizations as determined by §501(c)(3) of the Internal

Revenue Code. Contributions can be made on a pre-tax or Roth basis. The 403(b) plan is named

after the section of the Internal Revenue Services (“IRS”) code governing it. IRS Publication

571 provides details on the plan.

       20.     Employees of tax-exempt organizations established under §501(c)(3) of the Internal

Revenue Code are eligible to participate in 403(b) plans.

       21.     Employees enroll and participate through their employer. Contributions to a 403(b)

plan are made through a Salary Reduction Agreement. This is an arrangement where the

participating employee agrees to take a reduction in salary. The amount by which the salary is

reduced is directed to investments offered through the employer and selected by the employee.

These contributions are called elective deferrals and are excluded from the employee’s taxable

income.

       22.     The 457(b) plan is offered by state and local government agencies, as well as certain

non-profits. Contributions are deducted from an employee’s paycheck and grow tax-free while

they are held in the account.

       B.      Investment Products Available Inside 403(b) and 457(b) Plans

       23.     Employers who sponsor the plans make available one or more vendors or financial

firms, which in turn offer a number of investment options that 403(b) or 457(b) participants can

use to fund their 403(b) plans.


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       24.     In 1961, the insurance industry introduced the “tax-sheltered annuity” or “TSA.”

Between 1961 and 1974, only TSAs were allowed in 403(b) plans.

       25.     In 1974, Congress passed the Employee Retirement Income Security Act

(“ERISA”), allowing mutual funds to be used within 403(b) plans.

       26.     Currently, there are two categories of investment products available for 403(b)

plans: (i) annuities; and (ii) mutual funds.

       27.     A mutual fund is an investment that pools money from many participants and

invests in stocks, bonds, short-term money-market instruments, or some combination of the three.

The combined holdings of stocks, bonds, or other assets that the fund owns are known as its

portfolio. Each investor in the fund owns shares, which represent a part of these holdings.

       28.     Annuity products used to fund such defined contribution retirement plans include

fixed, equity indexed, and variable annuities. As explained below, the type of product at issue in

this action is a variable annuity, which is a contract between a person and an insurance company.

A person purchases a variable annuity contract by making either a single purchase payment or a

series of installment payments. In exchange for an upfront payment or a set of installment

payments, the issuer provides a named annuitant, usually the contract owner, a future lump-sum

payout or a series of payouts.

       29.     A variable annuity offers a range of investment options, such as mutual funds that

invest in stocks, bonds, short-term money-market instruments, or some combination of the three.

These investment options are referred to as the sub-account. The value of the investment will vary

depending on the performance of the investments in the sub-account.




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       30.     Variable annuities are arguably the most complex individual retirement planning

product in the financial market because they combine traditional life and annuity products with

added financial options.

       31.     When you purchase a variable annuity, the money paid is allocated to an investment

portfolio with a range of options (sub-accounts). A variable annuity offers a range of investment

options. The value of your investment as a variable annuity owner will vary depending on the

performance of the investment options the investor has selected. The investment options for a

variable annuity are typically mutual funds that invest in stocks, bonds, money market instruments,

or some combination of the three. An investor can also decide to start, stop, increase, or decrease

their contributions to the variable annuity.

       C.      The 403(b) Marketplace

       32.     When saving and deciding how to fund their retirement, teachers and other public-

school workers usually see investment options from several large providers, with a dizzying array

of prospective investments, many of which are lightly regulated because the investments are not

subject to the more stringent federal rules and plan participant protections generally found in

ERISA, which applies to 401(k) plans.

       33.     Millions of teachers and employees at non-profits rely on 403(b) plans for their

retirement savings. Of the nearly $1 trillion in total 403(b) assets, more than half are not subject

to federal retirement plan rules and protections of ERISA, which impose strict fiduciary and

disclosure duties on sellers of such products.

       34.     Not surprisingly, then, teachers have increasingly been sold investment products

inside their 403(b) plans that feature high fees. These fees matter to investors because they can be




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devastating to retirement plan balances, slicing in half the ending balance for the investor by

retirement age.

       35.        The United States Government Accountability Office (USGAO) has found that

even seemingly small fees, such as a 1% annual charge, can significantly erode the amount of

savings people have for their retirement. 1 The chart below—which shows the total value of

investment after 35 years, assuming $250 contributed monthly with a 6% return—illustrates the

impact that differences in fees have on annuity returns over time.




       36.        To help combat this abuse, in 2017, the SEC’s Enforcement Division formed a

Retail Strategy Task Force, concentrating resources and expertise from across the SEC.

       37.        Two years later, in 2019, the SEC announced a new initiative, known as “The

Teachers’ Initiative,” to build on its ongoing efforts to protect retail investors through the Retail

Strategy Task Force.


1
  GAO Report to the Chairman, Committee on Education and Labor, House of Representatives, 403(b)
Investment Options, Fees, and Other Characteristics Varied, found at https://www.gao.gov/assets/gao-22-
104439.pdf (March 2022).
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       38.      The Teachers’ Initiative was designed to build on the SEC’s past efforts and focus

additional enforcement and investor education resources on behalf of teachers. Among the

program’s aims are to educate teachers about savings and investment, investment fees and

expenses, retirement programs specific to educators and service members, and to detect and

remedy investment fraud.

       39.      According to a 2023 report by the USGAO, several states have also recently made

efforts to enhance transparency and curb fees paid by participants in 403(b) plans not subject to

ERISA requirements. 2

       40.      In that report, the USGAO examined the market for 403(b) plans by analyzing

Department of Labor (“DOL”), SEC, and Internal Revenue Service (“IRS”) data and

documentation; reviewing documentation from five selected states identified as taking actions to

improve participant outcomes; interviewing federal and state agency officials and experts; and

conducting and analyzing results from surveys of plan sponsors and service providers.

       41.      Noting that several industry stakeholders believed that some participants in non-

ERISA 403(b) plans did not receive sufficient disclosures that would enable them to make

informed investment decisions, the report suggested that it was necessary to enhance transparency

through increased disclosure to better inform participants about the fees and expenses they are

paying and provide plan participants with a means to access investment options with lower fees

and expenses.




2
  GAO Report to the Ranking Member, Committee on Education and the Workforce, House of
Representatives, Department of Labor Should Update Educational Materials to Better Inform Plan
Sponsors and Participants, found at https://www.gao.gov/assets/830/827172.pdf (June 2023).
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         D.    Defendant’s EQUI-VEST Annuities

         42.   Generally speaking, for each EQUI-VEST variable annuity, the investor makes an

initial investment and usually also makes additional periodic investments thereafter, while

Equitable agrees to make periodic payments to the investor at retirement that correspond, at least

in part, to the performance of sub-accounts that invest in certain underlying mutual fund

investments.

         43.   Equitable markets EQUI-VEST variable annuities as a retirement product to retail

investors nationwide and, in particular, focuses its marketing efforts on K-12 school teachers who

invest in the variable annuities through the 403(b) or 457(b) defined contribution retirement plans

sponsored by their respective school district employer.

         44.   Since 2016, approximately 60% to 65% of Equitable’s annual revenue from EQUI-

VEST variable annuities originated from investments made by teachers or other employees of K-

12 public school districts.

         E.    Defendant Issues Misleading Account Statements to Variable Annuity
               Investors

         45.   When an investor purchases an EQUI-VEST annuity, they receive quarterly and

calendar year-end statements that show the growth or loss of their annuity value based on the

investment sub-accounts that are the basis for growth or loss. It is Defendant’s practice to send

these statements to every EQUI-VEST investor. These statements provide account information,

including investment performance information and current account values by investment option.

This includes investment details such as the account value at the beginning of the quarter, any

contributions and additions, the net investment portfolio results, any withdrawals, and total account

value.



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       46.     Equitable reported fees in four fields within its EQUI-VEST quarterly account

statements, but Equitable provided no description in the account statements regarding what these

fees included or excluded.

       47.     Moreover, Defendant’s quarterly statements did not put investors, including

Plaintiff and the other Class members, on notice of the Separate Account Expenses and Portfolio

Operating Expenses, which were omitted from the account statements. Investors to whom

Equitable provided the account statements included those who considered and made additional

investments in EQUI-VEST variable annuities after receiving the account statements.

       48.     On the front page of its EQUI-VEST account statements, Equitable included

several line items detailing the performance of the annuity, including for “Net Investment Portfolio

Results,” “Total Account Value,” and “Fees and Expenses.” Even though numerous fees were

being deducted from investors’ accounts, nothing in the account statement advised investors of

this; instead, the quarterly account statements reported “Fees and Expenses” on the front page as

$0.00 for the quarter, or for both the quarter and year, as shown in the following example:




       49.     Equitable’s quarterly account statements included a separate section entitled

“Transaction Summary by Fund.” This section included a column entitled “Fees and Expenses”
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that reported the same Administrative and Transaction Fees as the “Fees and Expenses” line item

on the front page of the statement, but on a pro rata basis, broken down by each underlying

investment fund within the variable annuity. Plaintiff’s quarterly account statements reported

$0.00 in “Fees and Expenses” for each underlying investment fund.

       50.     The “Transaction Summary by Fund” section also included a column entitled “Plan

Operating Expenses.” This column reported fees—on a pro rata basis for each underlying

investment fund within the variable annuity—that Equitable deducted and paid to the investor’s

retirement plan or to a third-party administrator of their retirement plan. Again, Plaintiff’s

quarterly account statements reported $0.00 in “Plan Operating Expenses” for each underlying

investment fund.

       51.     The following is an excerpt from Plaintiff’s account statement reporting both $0.00

in “Fees in Expenses” and $0.00 in “Plan Operating Expenses” for each underlying investment

fund within the variable annuity:




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       52.     Equitable’s EQUI-VEST quarterly account statements also included a section

entitled “Contribution and Fee Summary.” The “Contribution and Fee Summary” section in

Plaintiff’s quarterly account statements reported no fees:




       F.      Defendant’s EQUI-VEST Product Features Some of the Highest Fees
               in the Industry

       53.     Defendant hides the fees on its EQUI-VEST for a good reason: EQUI-VEST is a

more expensive investment product compared to many other variable annuities and analogous

mutual funds sold within 403(b) and 457 plans.

       54.     Total operating costs for the EQUI-VEST variable annuity can range from 1.74%

to 3.46%. These fees can add up to annual costs that are as much as 25 times higher than alternative

investment options, such as IRA or brokerage accounts funded with exchange traded funds (ETF)

or mutual funds, or fixed or variable annuities. Few products sold within a 403(b) plan feature


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fees higher than those on Defendant’s EQUI-VEST annuity. Had Plaintiff and the other Class

members known of the extent of these fees, they could have re-routed their 403(b) contributions

into lower fee investments, thereby saving themselves thousands of dollars in charges.

       55.     Not only are the fees on the EQUI-VEST product higher than comparable

investments, but the fees also severely hamper the growth of the investment, as the investor’s

account value increases over a period of time. As a fixed percentage, the charge increases with the

value of the sub-accounts even though the expenses underlying the charges stay relatively steady.




       56.     Worse yet, even if an investor realizes the true expense of the EQUI-VEST product,

they have few options to access their money for many years without incurring substantial fees. If

an investor surrenders their contract, applies their cash value to a non-life contingent annuity

payment option, or withdraws money from the contract within six years following their last

contribution, they will be assessed a withdrawal charge of up to 5% of account value withdrawn

or contributions withdrawn. For example, if they make a withdrawal in the first year, they could

pay a withdrawal charge of up to $5,000 on a $100,000 investment.




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       G.      SEC Charges Defendant with Securities Fraud

       57.     On July 18, 2022, the SEC announced fraud charges against Equitable Financial

Life Insurance Company for providing false statements to approximately 1.4 million variable

annuity customers.

       58.     The SEC order stated that since at least 2016, Equitable provided quarterly account

statements to approximately 1.4 million investors that included materially misleading statements

and omissions concerning significant fees paid in connection with variable annuity investments.

The SEC’s order finds that Equitable violated the antifraud provisions of the Securities Act of

1933, explaining that:

               As a result of the conduct described above, Equitable violated Sections
       17(a)(2) and 17(a)(3) of the Securities Act, which prohibit any person in the offer
       or sale of securities from obtaining money or property by means of any untrue
       statement of material fact or any omission to state a material fact necessary in order
       to make statements made not misleading, and from engaging in any practice or
       course of business which operates or would operate as a fraud or deceit upon the
       purchaser, respectively. 3

       59.     Equitable consented to settle the charges by providing $50 million in compensation

to affected investors, most of whom are public school teachers and other employees of public-

school districts who invest in Equitable’s proprietary EQUI-VEST variable annuities within 403(b)

or 457(b) defined-contribution retirement plans.

       60.     To remedy its fraud, as part of the consent order, Equitable was required to

immediately modify its EQUI-VEST quarterly account statements, beginning with the quarterly




3
   July 22, 2022 Order Instituting Cease-and-Desist Proceedings, Pursuant to Section 8a of The
Securities Act of 1933, Making Findings, and Imposing a Cease-and-Desist Order, found at
https://www.sec.gov/files/litigation/admin/2022/33-11083.pdf.

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account statements that it provides to investors for the period April 1, 2022 through June 30, 2022,

to, among other things:

               (a)        clarify that the fees and expenses detailed in the account statements do not

include all fees and expenses that the investor pays pursuant to the variable annuity contract;

               (b)        add a description of terms section that clarifies the types of fees and

expenses detailed in the statement; and

               (c)        rename the “Fees and Expenses” item on the front page of the statements to

make clear that it refers only to certain plan administration or transactional fees.

                     V.       ADDITIONAL INDICIA OF SCIENTER

       61.     Before selling a single EQUI-VEST annuity, Defendant knew exactly how its

variable annuities operated, the type of fees that it would charge to the investor’s account, and how

those fees would affect investors’ returns.        Internally, before selling its variable annuities,

Defendant engaged in a lengthy and comprehensive process that started with product design,

moved to financial and profitability testing, and ultimately ended with registration of the product

with the SEC. Indeed, the fraudulent scheme described herein could not have been perpetuated

during the Class Period without the knowledge and complicity of, or at least the reckless disregard

by, personnel at the highest levels of Equitable. The product, its structure, and all of the related

sales, marketing, and account materials, including the quarterly statement forms, was reviewed

and approved by multiple departments within the Equitable, including the actuarial, legal, and

marketing departments, before it was sold.

       62.     Defendant also ran numerous financial models to understand how its variable

annuities would perform in the real world across varying market conditions and to ensure that it

would be able to recoup its costs and hit its internal rate of return or profit target. Defendant’s


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variable annuities were designed to recoup the fees that were not disclosed in its quarterly

statements provided to investors.

       63.     Additionally, after it began selling the EQUI-VEST annuities, Equitable was made

aware that its EQUI-VEST account statements did not disclose the fees paid on the annuity. In

May 2017, Equitable and other vendors met with an advisory committee to a school district with

which Equitable did the most business in terms of both assets invested and number of investors.

This school district was determining whether to renew contracts with its 403(b) vendors. During

the May 2017 meeting, the chair of the school district advisory committee told Equitable that the

account statements were unclear on the amount of fees investors paid.

       64.     In May 2019, the school district advisory committee held another meeting at which

it specifically asked if Equitable could list annuity fees on the front page of its account statements

going forward. Equitable agreed to do so as part of a contract that it entered into with school

district covering the period from April 20, 2021 to December 31, 2022. Equitable began listing

the Separate Account Expenses and Portfolio Operating Expenses near the end of the account

statements for some of the school district’s investors in the first quarter of 2020 and for all

remaining school district investors by the fourth quarter of 2021.

       65.     Despite being aware that its statements were misleading, Equitable made no

changes to the EQUI-VEST account statements that other investors received and instead continued

providing them with account statements that reported fees and expenses in the same manner that

Equitable had been employing since at least 2016. Even more, Equitable included inserts in its

deficient EQUI-VEST quarterly statements encouraging plan participant investors to increase

contributions in 2018 and 2019. In other words, Equitable was pointedly made aware that its




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statements were misleading and continued to use them while outwardly goading plan participants

to increase their investments in the EQUI-VEST products.

                            VI.     CAUSATION/RELIANCE

       66.     As a matter of company policy, EQUI-VEST provides to its EQUI-VEST variable

annuity investors accounts a statement at the close of each calendar quarter and a statement of their

contract values at the close of each calendar year. Other than account-specific details relating to

the individual investor, such as their name and address, contract number, and total account value,

the statements distributed by Equitable to investors during the Class Period were standardized in

their structure, presentation, and content. As noted above, the statements systematically misled

investors, in at least three separate places, about the true fees and charges on their contracts.

       67.     Plaintiff reviewed her Equitable account statements in order to assess the returns

on her annuity and the impact that fees were having on her investment, and to make decisions

concerning her ongoing investments, including whether to make additional investments in her

EQUI-VEST variable annuity. The account statements did not put Plaintiff on notice of the fact

that she had paid significant Separate Account Expenses and Portfolio Operating Expenses that

amounted to thousands of dollars each year.

       68.     Had Plaintiff been aware of the extent of these charges and fees and the effect on

the value of her account, Plaintiff (i) would not have made and maintained investments to her

EQUI-VEST annuity; (ii) would have ceased contributions to the EQUI-VEST annuity; (iii) would

have started contributions to a new vendor; and/or (iv) would have transferred the funds invested

in the EQUI-VEST annuity to another 403(b) vendor or product with a different, lower-cost

investment product.




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                   VII.    LOSS CAUSATION/ECONOMIC LOSS

       69.     Plaintiff incorporates by reference the allegations set forth above. During the Class

Period (defined below), Defendants publicly disseminated materially false and misleading

statements and omitted material facts concerning the existence and amount of the fees and charges

being deducted from investors’ accounts. ¶¶45-52.

       70.     The undisclosed fees and expenses directly reduced the account value of Plaintiff’s

and investors’ variable annuities. During the Class Period, investors in Equitable’s EQUI-VEST

variable annuities, including Plaintiff, were charged the following fees on their accounts:

       Separate Account Expenses: EQUI-VEST investors pay on an ongoing basis for
       mortality and expense risks associated with the variable annuity and administrative
       and financial accounting costs. Equitable deducts Separate Account Expenses on a
       daily basis at an annual rate ranging from approximately 0.10% to 1.49% of net
       assets in the variable investment options.

       Portfolio Operating Expenses: These expenses are paid by all EQUI-VEST
       investors on an ongoing basis and are charged by the investment funds underlying
       the variable annuity for management fees, fees for the marketing and selling of
       mutual fund shares, service fees, and/or other expenses. The underlying investment
       funds deduct Portfolio Operating Expenses on a daily basis at an annual rate ranging
       from approximately 0.55% to 2.26% of the amount invested in such investment
       funds.

       71.     Defendant misled Plaintiff and the other Class members into investing money into

its EQUI-VEST variable annuities and as a result of this deception, Plaintiff and the other Class

member have paid thousands of dollars of undisclosed charges and fees.

                       VIII. CLASS ACTION ALLEGATIONS

       72.     Plaintiff brings this action as a class action pursuant to Rules 23(a) and 23(b)(3) of

the Federal Rule of Civil Procedure, on behalf of a class defined as all persons or entities who, at

any time between July 15, 2019 and July 18, 2022 (the “Class Period”), invested in and/or made

contributions to an EQUI-VEST variable annuity (the “Class”).

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       73.     Excluded from the Class are Defendant, the officers and directors of Equitable at

all relevant times, members of their immediate families, and their legal representatives, heirs,

successors, or assigns, and any entity in which Defendant has or had a controlling interest.

       74.     The members of the Class are so numerous that joinder of all members is

impracticable and the disposition of their claims in a class action will provide substantial benefits

to the parties and the Court. According to the SEC consent order, Equitable provided misleading

quarterly statements to nearly 1.5 million investors in its EQUI-VEST annuities. Members of the

Class may be identified from records maintained by Defendant and may be notified of the

pendency of this action by mail or electronically. Defendant regularly communicates with

investors in its EQUI-VEST annuities by mail and/or electronically.

       75.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendant’s wrongful conduct in violation of

federal law that is complained of herein.

       76.     Plaintiff will fairly and adequately protect the interests of the other Class members

and has retained counsel competent and experienced in class and securities litigation.

       77.     Common questions of law and fact exist as to all Class members and predominate

over any questions solely affecting individual Class of the Class. Among the questions of law and

fact common and predominant to the Class are:

               (a)     whether Defendant violated the Exchange Act, as alleged herein;

               (b)     whether Defendant employed any device, scheme, or artifice to defraud its

EQUI-VEST investors;




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                (c)    whether Defendant made any untrue statement of a material fact or omitted

to state a material fact necessary in order to make the statements made, in the light of the

circumstances under which they were made, not misleading;

                (d)    whether Defendant engaged in any act, practice, or course of business which

operates or would operate as a fraud or deceit upon its EQUI-VEST investors; and

                (e)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

          78.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                                IX.    CLAIM ALLEGED

                                           COUNT I
                  For Violation of §10(b) of the Exchange Act and Rule 10b-5

          79.   Plaintiff incorporates by reference Paragraphs 1-78, above, as though fully set forth

herein.

          80.   During the Class Period, Defendant disseminated or approved the statements

specified above, which it knew or deliberately disregarded were false and misleading in that they

contained misleading statements and omitted material facts concerning significant fees paid in

connection with its EQUI-VEST variable annuities.

          81.   Defendant violated §10(b) of the Exchange Act and Rule 10b-5 in that it:

                (a)    employed devices, schemes, and artifices to defraud;



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               (b)     made untrue statements of material fact or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; or

               (c)     engaged in acts, practices, and a course of business that operated as a fraud

or deceit upon Plaintiff and others similarly situated in connection with their investment

contributions to the EQUI-VEST variable annuities during the Class Period.

       82.     Plaintiff and the other Class members have suffered damages, in that they were

assessed charges and fees that were not disclosed on their quarterly statements and the diminished

value of their accounts and any subsequent contributions as a result of such charges and fees. Had

Plaintiff and the other Class members been aware of the extent of the fees and charges and their

effect on the value of their accounts, they would have ceased contributions to the EQUI-VEST

annuity, started contributions to a new vendor, and/or transferred the funds invested in the EQUI-

VEST annuity to another 403(b) vendor or product with a different, lower-cost investment product.

                             X.      REQUEST FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests relief and judgment, as follows:

       A.      Determining that this action is a proper class action, designating Plaintiff as Lead

Plaintiff and certifying Plaintiff as a Class representative under Rule 23 of the Federal Rules of

Civil Procedure, and appointing Plaintiff’s counsel as Lead Counsel;

       B.      Awarding compensatory damages in favor of Plaintiff and the other Class members

against Defendant for all damages sustained as a result of Defendant’s wrongdoing, in an amount

to be proven at trial, including interest thereon;




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          C.     Awarding recessionary damages and/or the disgorgement of profits obtained by

Defendant sustained as a result of Defendant’s wrongdoing, in an amount to be proven at trial,

including interest thereon;

          D.     Awarding Plaintiff and the other Class members their reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

          E.     Awarding such equitable/injunctive or other relief as the Court may deem just and

proper.

                           XI.     DEMAND FOR JURY TRIAL

          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a jury trial as to all

claims so triable.

 DATED: July 15, 2024                            Respectfully submitted,


                                                               s/ ADAM J. LEVITT
                                                                ADAM J. LEVITT

                                                 Adam J. Levitt
                                                 Eaghan Davis
                                                 DICELLO LEVITT LLP
                                                 Ten North Dearborn Street, Sixth Floor
                                                 Chicago, IL 60602
                                                 Tel.: 312-214-7900
                                                 alevitt@dicellolevitt.com
                                                 edavis@dicellolevitt.com

                                                 Steven M. Jodlowski
                                                 Hani Farah
                                                 DICELLO LEVITT LLP
                                                 4747 Executive Drive, Suite 240
                                                 San Diego, CA 92121
                                                 Tel.: 619-923-3939
                                                 sjodlowski@dicellolevitt.com
                                                 hfarah@dicellolevitt.com




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                                   Manfred Muecke
                                   MANFRED APC
                                   600 West Broadway, Suite 700
                                   San Diego, CA 92101
                                   Tel.: 619- 550-4005
                                   mmuecke@manfredapc.com

                                   Counsel for Plaintiff and the Proposed Class




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                           APPENDIX A
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             CERTIFICATION OF PLAINTIFF PURSUANT TO THE FEDERAL
                               SECURITIES LAWS

        I, Laura Devlin, hereby certify under penalty of perjury that the following is true and

correct to the best of my knowledge, information and belief:

        1.       I have reviewed the Complaint and authorized its filing.

        2.       I did not purchase any security that is the subject of this action at the direction of

plaintiff’s counsel or in order to participate in any private action arising under the federal securities

laws.

        3.       I am willing to serve as a representative party on behalf of the class, including

providing testimony at deposition and trial, if necessary.

        4.       I opened the EQUI-VEST variable annuity contract that is the subject of this action

on June 30, 2003. During the class period, I made the following transactions in the security that

is the subject of this action. See attached Schedule A.

        5.       I ceased contributions to the EQUI-VEST annuity in late 2021 and in the first

quarter of 2022 transferred my funds to another vendor. At the beginning of 2022, my total account

value was $103,501.

        6.       I have not sought to serve or served as a representative party in a class action that

was filed under the federal securities laws within the three-year period prior to the date of this

Certification.

        7.       I will not accept any payment for serving as a representative party on behalf of the

class beyond my pro rata share of any recovery, except such reasonable costs and expenses

(including lost wages) directly relating to the representation of the class as ordered or approved by

the court.


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       Pursuant to the laws of the United States of America (28 U.S.C. §1746), I declare under

penalty of perjury that the fore going statements are true and correct to the best of my knowledge.

Executed this 11th day of July, 2024, in Elgin, Illinois.




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                              SCHEDULE A

                    Plaintiff’s Transactions in Equi-Vest

                 Date                                  Amount
              7/12/2019                                 $500
               8/2/2019                                 $500
              8/13/2019                                 $500
              8/27/2019                                 $500
              9/18/2019                                 $500
              10/1/2019                                 $500
             10/21/2019                                 $500
              11/5/2019                                 $500
             11/12/2019                                 $500
             11/27/2019                                 $500
             12/17/2019                                 $500
             12/24/2019                                 $500
              1/14/2020                                 $500
              1/31/2020                                 $500
              2/13/2020                                 $500
               3/2/2020                                 $500
              3/17/2020                                 $500
              3/27/2020                                 $600
              4/16/2020                                 $600
              4/29/2020                                 $600
              5/18/2020                                 $600
              5/29/2020                                 $600
              6/18/2020                                 $600
               7/2/2020                                 $600
              7/22/2020                                 $600
              7/30/2020                                 $600
              8/25/2020                                 $600
               9/1/2020                                 $600
              9/18/2020                                 $600
              10/2/2020                                 $600
             10/15/2020                                 $700
             10/30/2020                                 $700
             11/20/2020                                 $700
             12/03/2020                                 $700
             12/21/2020                                 $700
               1/7/2021                                 $700
              1/14/2021                                 $700
               2/2/2021                                 $700
              2/12/2021                                 $700
               3/5/2021                                 $700
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              3/22/2021                               $700
               4/5/2021                               $700
              4/19/2021                               $700
              4/30/2021                               $700
              5/14/2021                               $700
               6/1/2021                               $700
              6/18/2021                               $700
               7/2/2021                               $700
              7/16/2021                               $700
              7/29/2021                               $700
              8/16/2021                               $700
               9/3/2021                               $700
              9/20/2021                               $700
              10/4/2021                               $825
             10/12/2021                               $825




                                    2
